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                           UNITED STATES DISTRICT COURT
                                   District of Maine

                                                )
 JOHN KATULA,                                   )    Docket No. 2:20-cv-00386-LEW
                       Plaintiff                )
                                                )
 v.                                             )
                                                )
 VINAL THOMPSON, KEVIN JOYCE, and               )
 CUMBERLAND COUNTY,                             )
                     Defendants                 )
                                                )

                              STIPULATION OF DISMISSAL

       NOW COME the parties, through counsel, and hereby stipulate that the above-captioned
matter may be dismissed, with prejudice, and without costs, interest, or attorneys fees to any
party.



Dated: January 12, 2021                               /s/ Michael J. Waxman
                                                    Michael J. Waxman, Esq.
                                                    Attorney for Plaintiff
                                                    1006 Forest Avenue
                                                    Portland, ME 04103


Dated: January 12, 2021                               /s/ John Wall
                                                    John Wall, III, Esq.
                                                    Attorney for Defendant Vinal Thompson
                                                    Monaghan, Leahy
                                                    95 Exchange Street, P.O. Box 7046
                                                    Portland, ME 04112-7046


Dated: January 12, 2021                               /s/ Peter T. Marchesi
                                                    Peter T. Marchesi, Esq.
                                                    Wheeler & Arey, P.A.
                                                    Attorneys for Defendant Kevin Joyce and
                                                    Cumberland County
                                                    27 Temple Street
                                                    Waterville, ME 04901
 Case 2:20-cv-00386-LEW Document 7 Filed 01/12/21 Page 2 of 2                      PageID #: 21




                            UNITED STATES DISTRICT COURT
                                    District of Maine




                                                    )
 JOHN KATULA,                                       )    Docket No. 2:20-cv-00386-LEW
                       Plaintiff                    )
                                                    )
 v.                                                 )
                                                    )
 VINAL THOMPSON, KEVIN JOYCE, and                   )
 CUMBERLAND COUNTY,                                 )
                     Defendants                     )
                                                    )


                                   CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Stipulation of Dismissal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Michael Waxman, Esq.                      mjwaxy@aol.com
              John Wall, III, Esq.                      jwall@monaghanleahy.com


Dated: January 12, 2021                                   /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants Joyce and
                                                        Cumberland County
                                                        27 Temple Street
                                                        Waterville, ME 04901
